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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Joseph G. Rosania, Jr.

 In re:                                             )
                                                    )
 DENNIS K. OBDUSKEY                                 )   Bankruptcy Case No. 16-17141-JGR
                                                    )
                                                    )   Chapter 13
 Debtor(s).                                         )
                                                    )
 Last four digits of SS#: 8785                      )
 Employer’s Tax Identification                      )
 No. [if any]: N/A                                  )

                   NOTICE OF TELEPHONIC PRELIMINARY HEARING

        NOTICE IS HEREBY GIVEN that the following matter has been set for a telephonic
preliminary hearing on Wednesday, June 20, 2018, at 1:30 p.m., in Courtroom B, United
States Bankruptcy Court for the District of Colorado, U.S. Custom House, 721 19th Street,
Denver, Colorado 80202-2508 regarding the Debtor's Objection to Claim of Wells Fargo Bank,
N.A., filed August 10, 2017 (Docket #58) and Wells Fargo Bank, N.A.'s Response thereto filed
September 8, 2017 (Docket #63).

Counsel/parties may appear by telephone at the hearing. The following instructions are provided
for appearing by telephone and connecting to the conference call line:

          Dial 1-888-684-8852, a few minutes prior to commencement of the hearing. It is
          a computerized system and you will be prompted to input an access code,
          followed by the pound sign (#). The access code is: 9369782. You will then be
          connected into the conference.

Failure to connect to the conference in a timely manner may preclude your participation in the
hearing. If you are unable to connect after following the instructions provided, please call the
Judge’s chambers at 720-904-7327 and leave a name and the telephone number where you can
be reached and the Court will return the call.

         If the matter necessitates the Court to receive evidence to resolve the matter, the
scheduled hearing will be used as a status and scheduling conference and the matter will be reset
to a later date.

        In the event the matter is resolved prior to hearing, the hearing shall be vacated only upon
(1) receipt of a written stipulation or agreement of the parties no later than the day before the
scheduled hearing, or (2) appearance by at least one of the parties at the hearing, in person or by
telephone, who shall read the agreement into the record.
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      Dated this 1st day of June, 2018.

                                          BY ORDER OF THE COURT:
                                          KENNETH S. GARDNER, Clerk

                                          By:   /s/ Anne Sekera
                                                Anne Sekera, Deputy Clerk
                                                United States Bankruptcy Court
                                                721 Nineteenth Street
                                                Denver, CO 80202-2508
